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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
         v.                                 :      No. 22-cr-15-APM
                                            :
JOSHUA JAMES,                               :
                                            :
                      Defendant.            :

              GOVERNMENT’S MOTION TO CONTINUE SENTENCING

       The United States of America respectfully requests that the Court continue Defendant

Joshua James’s sentencing hearing, which the Court recently re-scheduled for November 13, 2024.

Unfortunately, government counsel handling the sentencing hearing will now be in trial that day,

in a case that involves James’ counsel, Joni Robin, as witness counsel. The government has

consulted with Ms. Robin, who does not oppose continuing the sentencing, as she may also now

have a conflict on November 13, 2024. The parties are jointly available in December 2024 other

than December 4, 12, and 13, 2024.

       WHEREFORE, the United States respectfully requests that the Court continue the

defendant’s sentencing.


                                            Respectfully Submitted,

                                            MATTHEW M. GRAVES
                                            United States Attorney
                                            D.C. Bar No. 481052

                             By:                   /s/
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                                            D.C. Bar No. 994559
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